                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                    Desc Main
                                                                    Document              Page 1 of 9


 Fill in this information to identify the case:

 Debtor name         SaveUp Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         17-35506
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                            $-1,632,106.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                              $-638,268.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                              $-787,034.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                  Case 17-35506                   Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                         Desc Main
                                                                    Document              Page 2 of 9
 Debtor       SaveUp Inc.                                                                               Case number (if known) 17-35506



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Beacon Hill Staffing LLC                                     November                        $13,539.00                Secured debt
               c/o Horwood Marcus Berk                                      15, 2017                                                  Unsecured loan repayments
               500 W Madison #3700                                                                                                    Suppliers or vendors
               Chicago, IL 60661                                                                                                      Services
                                                                                                                                   Other Turnover to plaintiff in
                                                                                                                                 2015 L 012521


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Kian Sarrashteh v SaveUp                          Collection                 Lake County Circuit Court                      Pending
               Inc. et al.                                                                  18 N County Street                             On appeal
               16 CH 290                                                                    Waukegan, IL 60085
                                                                                                                                           Concluded

       7.2.    Reda & DesJardins v SaveUp                        Contract                   Lake County Circuit Court                      Pending
               Inc. et al                                                                   18 N County Street                             On appeal
               2017 L 708                                                                   Waukegan, IL 60085
                                                                                                                                           Concluded

       7.3.    Yodlee Inc. v SaveUp Inc.                         Collection                                                                Pending
                                                                                                                                           On appeal
                                                                                                                                           Concluded


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                 Desc Main
                                                                    Document              Page 3 of 9
 Debtor       SaveUp Inc.                                                                               Case number (if known) 17-35506



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.4.    Bairsedev LLC v SaveUp Inc.                       Collection                Circuit Court of Cook                   Pending
               2017 L 009518                                                               County                                  On appeal
                                                                                           Richard J Daley Center
                                                                                                                                   Concluded
                                                                                           50 West Washington Street
                                                                                           Chicago, IL 60602

       7.5.    Load Delivery Logistics LLC v                     Contract.                 Circuit Court of Cook                   Pending
               SaveUp Inc.                                                                 County                                  On appeal
               2016 L 010195                                                               Richard J Daley Center
                                                                                                                                   Concluded
                                                                                           50 West Washington Street
                                                                                           Chicago, IL 60602

       7.6.    Beacon Hill Staffing LLC v                        Contract                  Circuit Court of Cook                   Pending
               SaveUp Inc.                                       complaint for             County                                  On appeal
               2015 L 012521                                     $152,000. On              Richard J Daley Center
                                                                                                                                   Concluded
                                                                 11/15/17 turnover         50 West Washington Street
                                                                 of $13,539 to             Chicago, IL 60602
                                                                 plaintiff.

       7.7.    Rogic LLC v SaveUp Inc.                           Collection                Circuit Court of Cook                   Pending
               2016 M2 2041                                                                County                                  On appeal
                                                                                           Richard J Daley Center
                                                                                                                                   Concluded
                                                                                           50 West Washington Street
                                                                                           Chicago, IL 60602

       7.8.    Bizintek v SaveUp Inc.                            Collection                Lake County Circuit Court               Pending
               2017 L 711                                                                  18 N County Street                      On appeal
                                                                                           Waukegan, IL 60085
                                                                                                                                   Concluded

       7.9.    Grenville Strategic Royalty                       Breach of                 US District Court                       Pending
               Corp. vs. SaveUp Inc. et al                       contract,                 219 S Dearborn Street                   On appeal
               17 cv 00810                                       demanding                 Chicago, IL 60604
                                                                                                                                   Concluded
                                                                 $75000

       7.10 Department of Labor                                  Wage Claim, Mr.           Department of Labor                     Pending
       .    17-001698                                            Johnson.                  160 N LaSalle Street                    On appeal
                                                                 Disputed.                 13th Floor                              Concluded
                                                                                           Chicago, IL 60601-3150

       7.11 Department of Labor                                  Wage Claim,               Department of Labor                     Pending
       .    17-000477                                            former employee           160 N LaSalle Street                    On appeal
                                                                 Ms. Gace                  13th Floor                              Concluded
                                                                                           Chicago, IL 60601-3150

       7.12 Department of Labor                                  Wage Claim,               Department of Labor                     Pending
       .    17-000468                                            former employee           160 N LaSalle Street                    On appeal
                                                                 Ms. Hiler                 13th Floor                              Concluded
                                                                                           Chicago, IL 60601-3150

       7.13 State of California                                  Christian                 California Dept. Industrial             Pending
       .    Department of Industrial                             DeHoyos v WL              Relations                               On appeal
               Relations/Labor                                   Benefits Group et         455 Golden Gate Ave
                                                                                                                                   Concluded
               Commissioner                                      al                        10th Floor
               11-48565 EK                                                                 San Francisco, CA 94102




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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                  Case 17-35506                   Doc 9          Filed 12/19/17              Entered 12/19/17 11:31:51                     Desc Main
                                                                    Document                 Page 4 of 9
 Debtor        SaveUp Inc.                                                                                  Case number (if known) 17-35506



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.14 Caitlin Schott                                       DOL Claim for                Illinois Department of Labor                Pending
       .                                                         $5576.93                     160 N LaSalle Street                        On appeal
                                                                                              13th Floor                                  Concluded
                                                                                              Chicago, IL 60601-3150


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                               Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss               Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Jeffrey Strange & Associates
                717 Ridge Road
                Wilmette, IL 60091                                   Attorney Fees                                             11/21/17                       $5,000.00

                Email or website address


                Who made the payment, if not debtor?
                Westlake Financial Group Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 4
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                      Desc Main
                                                                    Document              Page 5 of 9
 Debtor      SaveUp Inc.                                                                                 Case number (if known) 17-35506




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                 Desc Main
                                                                    Document              Page 6 of 9
 Debtor      SaveUp Inc.                                                                                Case number (if known) 17-35506




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                        Desc Main
                                                                    Document              Page 7 of 9
 Debtor      SaveUp Inc.                                                                                Case number (if known) 17-35506



            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Saveup Inc.                                                                                       EIN:         XX-XXXXXXX
             28392 N Ballard Dr
             Lake Forest, IL 60045                                                                             From-To


    25.2.    Besh Holding Corp                                                                                 EIN:         XX-XXXXXXX
             28392 N Ballard Dr
             Lake Forest, IL 60045                                                                             From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       FGMK                                                                                                                       Prior to 2016
                    333 W Wacker Drive
                    6th Floor
                    Chicago, IL 60606
       26a.2.       SaveUp Inc.                                                                                                                2016



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                   Desc Main
                                                                    Document              Page 8 of 9
 Debtor      SaveUp Inc.                                                                                Case number (if known) 17-35506




              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                 Case 17-35506                    Doc 9          Filed 12/19/17           Entered 12/19/17 11:31:51                 Desc Main
                                                                    Document              Page 9 of 9
 Debtor      SaveUp Inc.                                                                                Case number (if known) 17-35506



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 19, 2017

 /s/ Paul Burt                                                          Paul Burt
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 9
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